






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00703-CV






Hays Consolidated Independent School District, Appellant


v.


Kimberly Drake, Appellee






FROM THE DISTRICT COURT OF HAYS COUNTY, 207TH JUDICIAL DISTRICT

NO. 09-0603, HONORABLE CHARLES R. RAMSAY, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		This is an interlocutory appeal from a district court order denying a plea to the
jurisdiction.  See Tex. Civ. Prac. &amp; Rem. Code Ann. § 51.014(a)(8) (West 2008).  The parties have
filed a joint motion to dismiss this appeal, advising that they have compromised their differences in
the underlying cause.  The parties further request that we render judgment effectuating the parties'
settlement agreement, specifically that we "render a take-nothing judgment and dismiss this appeal."
Given the limited scope of our subject-matter jurisdiction in this interlocutory appeal, we grant
the&nbsp;joint motion only to the extent of rendering judgment dismissing this appeal.  See Tex. R. App.
P. 42.1(a)(2)(A).

						__________________________________________

						Bob Pemberton, Justice

Before Chief Justice Jones, Justices Puryear and Pemberton

Dismissed on Joint Motion

Filed:   December 10, 2010


